       Case: 4:20-cv-01540-MTS Doc. #: 1-10 Filed: 10/27/20 Page: 1 of 1 PageID #: 38

                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
   Larry G. Philpot

                         ,              )
            Plaintiff (s),              )
                                        )
                                                         4:20-cv-1540
      v.                                )     Case No.
                                        )
  Gateway Blend, LLC                    )
                      ,                 )
            Defendant(s).               )

                                  NOTICE OF INTENT TO USE
                                     PROCESS SERVER
                   Plaintiff
Comes now                       and notifies the court of the intent to use
         (Plaintiff or Defendant)
            Pam King Wheetley

      (name and address of process server)
     1430 Washington Ave, Suite 220


            St Louis, MO 63103



To serve:                    Gateway Blend, LLC

                                                          in the
      (name of defendants to be served by this process server)

above-styled cause. The process server listed above possesses the

requirements as stated in Rule 4 of the Federal Rules of Civil Procedure.

The undersigned affirms the information provided above is true and correct.
     10/27/2020                               /s/ C. Brett Vaughn, 66974 (MO)

      (date)                                  (attorney for Plaintiff)


                                              (attorney for Defendant)
